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                   IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

STATE FARM MUTUAL
AUTOMOBILE INSURANCE
COMPANY,

      Plaintiff,                              CASE NO.:

v.

CAROL T. TAYLOR, SHELDON
FAULK, PATRICIA SOCORRO,
GLOBAL PIONEER BUSINESS
SOLUTIONS, LLC f/k/a GLOBAL
PIONEER BUSINESS SOLUTIONS,
INC.,

      Defendants,
____________________________/

               COMPLAINT FOR DECLARATORY JUDGMENT

      COMES NOW the Plaintiff, STATE FARM MUTUAL AUTOMOBILE

INSURANCE COMPANY, and files this Complaint against Defendants, CAROL T.

TAYLOR, SHELDON FAULK, PATRICIA SOCORRO, and GLOBAL PIONEER

BUSINESS SOLUTIONS f/k/a GLOBAL PIONEER BUSINESS SOLUTIONS,

INC. (“GLOBAL PIONEER”), for declaratory judgment pursuant to 28 U.S.C. §2201

and §1332, and in support thereof states:

                                  JURISDICTION

      1.     This is an action for declaratory relief pursuant to 28 U.S.C. § 2201.

      2.     Plaintiff, STATE FARM MUTUAL AUTOMOBILE INSURANCE

COMPANY (“STATE FARM”), is a mutual insurance company organized under the
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laws of the State of Illinois and whose principal place of business is in Bloomington,

Illinois. Accordingly, STATE FARM is a citizen of Illinois.

       3.       Defendants CAROL T. TAYLOR, SHELDON FAULK, and

PATRICIA SOCORRO are natural persons residing in and domiciled in Polk County,

Florida. Accordingly, CAROL T. TAYLOR, SHELDON FAULK, and PATRICIA

SOCORRO are citizens of Florida.

       4.       Defendant, GLOBAL PIONEER is a Florida limited liability company

whose principal place of business is in Florida. Accordingly, GLOBAL PIONEER is

a citizen of Florida.

       5.       In this action, STATE FARM seeks a declaration of its duties and

obligations with regard to an underlying action styled Carol T. Taylor and Sheldon Faulk,

her spouse, Plaintiffs vs. Patricia Socorro and Global Pioneer Business Solutions, LLC., a

Florida Limited Liability Company f/k/a Global Pioneer Business Solutions, Inc., a Florida

Profit Corporation, Defendants, in the Circuit Court for the Tenth Judicial Circuit in and

for Polk County, Florida, Case No. 2019CA001084000000 (the “Underlying

Litigation”).

       6.       STATE FARM stands to lose more than $75,000.00 in defense costs and

indemnity if it loses this declaratory-judgment action. Accordingly, the amount in

controversy exceeds $75,000.00, exclusive of interest, costs, and attorney’s fees.

       7.       Jurisdiction is proper pursuant to 28 U.S.C. §1332(a) because the matter

is a controversy between citizens of different states and the amount in controversy is

in excess of $75,000.00.
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       8.     On information and belief, all parties who claim an interest that will be

affected by the declaration of rights in this cause are named as Defendants to this

Complaint for Declaratory Judgment due to their interests and claims.

       9.     All conditions precedent to the bringing of this suit have occurred or have

been waived.

                                        VENUE

       10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 and Local

Rule 1.04 because the accident giving rise to the Underlying Litigation occurred in

Polk County, Florida, and a substantial part of the events giving rise to this action

occurred in this District.

                             GENERAL ALLEGATIONS

       11.    On information and belief, GLOBAL PIONEER was at all relevant

times engaged in the business of transporting persons for hire.

       12.    At all relevant times, Global Pioneer Business Solutions, Inc. was a

Florida corporation owned, in whole or in part, by Bridgette Copeland-Gould, who

was also the vice-president of Global Pioneer Business Solutions, Inc.

       13.    On information and belief, PATRICIA SOCORRO was employed at all

relevant times by Global Pioneer Business Solutions, Inc., to transport persons for hire

using PATRICIA SOCORRO’s own personal vehicle.

       14.    On information and belief, Global Pioneer Business Solutions, Inc.,

directed PATRICIA SOCORRO to transport CAROL T. TAYLOR to a doctor’s

appointment on July 18, 2017.
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      15.    On information and belief, PATRICIA SOCORRO used her own

personal 2012 Kia Sportage on July 18, 2017 to pick up CAROL T. TAYLOR at her

home to transport her to a doctor’s appointment.

      16.    While on their way to the doctor’s appointment, PATRICIA SOCORRO

was involved in a motor-vehicle accident with CAROL T. TAYLOR as a passenger,

causing injuries to CAROL T. TAYLOR (hereinafter the “Accident”).

      17.    SHELDON FAULK is CAROL T. TAYLOR’s spouse.

      18.    STATE FARM was, at all relevant times, the insurer of Bridgette

Copeland-Gould’s personal vehicles. Exhibits 1 and 2, attached hereto, are true and

correct certified copies of the insurance policies that STATE FARM issued to

Bridgette Copeland-Gould, both of which were in effect on the date of the Accident.

      19.    Bridgette Copeland-Gould purchased the policies referenced in the

preceding paragraph through Costello Insurance and Financial Services, Inc., which

is an insurance agency in Polk County, Florida, owned and operated by William A.

Costello.

      20.    STATE FARM has never issued an insurance policy covering GLOBAL

PIONEER.

      21.    STATE FARM has never insured PATRICIA SOCORRO at any

relevant time.

      22.    After the Accident, counsel for CAROL T. TAYLOR requested

information about insurance coverage that STATE FARM may provide to GLOBAL

PIONEER. When STATE FARM responded that it did not insure GLOBAL

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PIONEER, CAROL T. TAYLOR’s counsel provided STATE FARM with a

“Certificate of Liability Insurance” signed by someone named Sarah Flowers. The

certificate listed the two policy numbers associated with the two policies covering

Bridgette Copeland-Gould’s personal vehicles (Exs. 1 & 2) but incorrectly listing the

insured as “Global Pioneer” (hereinafter the “Certificate”). A true and correct copy of

the Certificate is attached hereto as Exhibit 3.

      23.    It turned out that Bridgette Copeland-Gould had tricked Sarah Flowers

into issuing the Certificate by supplying her with the policy numbers and falsely telling

her that the policies had been issued to Global Pioneer Business Solutions, Inc., even

though they had in fact been issued to Bridgette Copeland-Gould. Sarah Flowers relied

upon said representations from Bridgette Copeland-Gould in issuing the Certificate.

      24.    CAROL T. TAYLOR and SHELDON FAULK never saw or relied

upon the Certificate at any point in time prior to the Accident.

      25.    Sarah Flowers was at all relevant times an employee of Costello

Insurance and Financial Services, Inc.

      26.    Sarah Flowers is not, and never has been, an employee of STATE

FARM.

      27.    Sarah Flowers did not inform STATE FARM that she had issued the

Certificate at any point prior to the Accident, nor did anyone else so inform STATE

FARM.

      28.    On or about March 15, 2019, CAROL T. TAYLOR and SHELDON

FAULK filed the Underlying Litigation against PATRICIA SOCORRO and

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GLOBAL PIONEER BUSINESS SOLUTIONS, LLC. A true and correct copy of

the Complaint filed in the Underlying Litigation is attached hereto and incorporated

herein by reference as Exhibit 4.

      29.    On or about November 7, 2019, CAROL T. TAYLOR and SHELDON

FAULK filed a Second Amended Complaint, a true and correct copy of which is

attached hereto and incorporated herein by reference as Exhibit 5.

      30.    STATE FARM provided a defense to PATRICIA SOCORRO and

GLOBAL PIONEER under a reservation of rights to deny coverage.

      31.    The Underlying Litigation remains pending.

                  CLAIM FOR DECLARATORY JUDGMENT

      32.    STATE FARM re-alleges paragraphs 1 through 31 as if fully set forth

herein.

      33.    A bona fide, actual, present, and practical controversy has arisen with

regard to the question of whether the insurance policies attached as Exhibits 1 and 2,

or the Certificate attached as Exhibit 3, obligate STATE FARM to defend and/or

indemnify PATRICIA SOCORRO and/or GLOBAL PIONEER with respect to the

Underlying Litigation filed against them by CAROL T. TAYLOR and SHELDON

FAULK. This controversy has created doubt with regard to STATE FARM’s

obligations to PATRICIA SOCORRO and GLOBAL PIONEER, and STATE

FARM is entitled to have this doubt removed.

      WHEREFORE, Plaintiff, STATE FARM, prays that this Honorable Court

enter a declaratory judgment declaring whether STATE FARM is obligated to defend
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and/or indemnify PATRICIA SOCORRO or GLOBAL PIONEER with respect to

the Underlying Litigation brought against them by CAROL T. TAYLOR and

SHELDON FAULK, along with such other relief as this Honorable Court deems just

and proper. Plaintiff demands trial by jury on all issues so triable.

Dated: December 27, 2023.

                                      BUTLER WEIHMULLER KATZ CRAIG LLP


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